Case 3:22-cv-01213-TAD-KDM   Document 394-1   Filed 10/08/24   Page 1 of 8 PageID
                                  #: 29583




                             EXHIBIT $
        Case 3:22-cv-01213-TAD-KDM                             Document 394-1                  Filed 10/08/24              Page 2 of 8 PageID
                                                                    #: 29584
Providing Foreign Malign Influence Threat Information to Social Media Platforms — FBI

          An official website of the United States government. Here's how you know

     MORE                                                                                     Submit Search .search-icon-link { fill: #ffffff; } Search

                   FBI
   WHAT WE INVESTIGATE
   Terrorism           Counterintelligence              Cyber Crime             Public Corruption              Civil Rights          Organized Crime
   Counterintelligence News                   0Rႋ:DQWHG



   Providing Foreign Malign Influence
   Threat Information to Social Media
   Platforms
   In executing its mission to keep the American people
   safe, the Department of Justice has prioritized countering
   foreign malign influence operations, including online
   operations.
   One of the ways the FBI supports this mission is by providing foreign malign influence
   (FMI) threat information to companies hosting social media (Social Media Platforms) so that
   they may, based on their independent judgment, initiative, and decision-making process,
   take steps to mitigate such threats.1

   It is also Department of Justice “policy to alert the victims and unwitting targets of foreign
   influence activities, when appropriate and consistent with the Department’s policies and
   practices, and with our national security interests.”2 One of the appropriate reasons for
   disclosing FMI threat information is, as outlined in the Justice Manual, “to alert technology
   companies or other private sector entities to foreign influence operations when their
   services are used to disseminate covert foreign government propaganda or disinformation,
   or to provide other covert support to political organizations or groups.”3

   :KHQDFRPSDQ\UHFHLYHV)0,WKUHDWLQIRUPDWLRQIURPWKH)%,LWLVHQWLUHO\XSWRWKH
   company whether to take any action based on the shared information. Any actions that
   companies may take in response to receiving information from the FBI in these contexts
                                                                                        texts
   are strictly voluntary and are based on their independent judgment, initiative, and decision-
                                                                                        ecision-
   making process.

https://www.fbi.gov/...e/counterintelligence/foreign-influence/providing-foreign-malign-influence-threat-information-to-social-media-platforms[8/8/2024 2:27:46 PM]
        Case 3:22-cv-01213-TAD-KDM                             Document 394-1                  Filed 10/08/24              Page 3 of 8 PageID
                                                                    #: 29585
Providing Foreign Malign Influence Threat Information to Social Media Platforms — FBI



   In 2019, bipartisan majorities of Congress recognized the threat to national security posed
   by FMI in Title 50, Section 3369 of the United States Code titled, “Cooperative Actions to
   Detect and Counter Foreign Influence Operations,” which includes the finding that foreign
   actors have used the platforms provided by technology companies to engage in FMI
   activities that threaten U.S. national security, and will likely continue to do so. Specifically,
   Congress found that:


       Any actions the companies may take in response to receiving FMI
       threat information from the FBI in this context are strictly voluntary
       and are based on their independent judgment, initiative, and/or
       decision making processes.


         (1) [a hostile power deployed] information warfare against the United States, its allies
         and partners, with the goal of advancing the strategic interests of the [hostile power] . . .
         (2) One line of effort deployed as part of these information warfare operations is the
         weaponization of social media platforms with the goals of intensifying societal tensions,
         undermining trust in governmental institutions within the United States, its allies and
         SDUWQHUVLQWKH:HVWDQGJHQHUDOO\VRZLQJGLYLVLRQIHDUDQGFRQIXVLRQ  7KHVH
         information warfare operations are a threat to the national security of the United States
         and that of the allies and partners of the United States. As former Director of National
         Intelligence Dan Coats stated, “These actions are persistent, they are pervasive and
         they are meant to undermine America’s democracy . . .” (7) Because these information
         warfare operations are deployed within and across private social media platforms, the
         companies that own these platforms have a responsibility to detect and facilitate the
         removal or neutralization of foreign adversary networks operating clandestinely on their
         platforms.

   Congress stated in the same section that “it is the sense of Congress that information from
   law enforcement and the intelligence community is also important in assisting efforts by
   these social media companies to identify foreign information warfare operations.”

   Since well before those Congressional findings, the Department of Justice, acting through
   the FBI, has been working to combat FMI threats. In the fall of 2017, the FBI established

https://www.fbi.gov/...e/counterintelligence/foreign-influence/providing-foreign-malign-influence-threat-information-to-social-media-platforms[8/8/2024 2:27:46 PM]
        Case 3:22-cv-01213-TAD-KDM                             Document 394-1                  Filed 10/08/24              Page 4 of 8 PageID
                                                                    #: 29586
Providing Foreign Malign Influence Threat Information to Social Media Platforms — FBI

   the FBI’s Foreign Influence Task Force (FITF) as a multi-division FBI section comprised of
   operational and analytical personnel to combat FMI operations targeting U.S. democratic
   institutions.

   One of FITF’s key lines of effort has been to “[l]ead the engagement with social media and
   Internet technology providers” to enable an effective dialogue with Social Media Platforms
   focused on understanding the capabilities of these providers, and providing information to
   these platforms for the companies to use, if they choose to do so within their discretion, in
   furtherance of self-monitoring and mitigation efforts.

   The FBI has implemented standard operating procedures (SOP) by which the FBI transmits
   FMI threat information to Social Media Platforms. The SOP are designed to continue to
   ensure that Americans’ First Amendment rights are being protected while the hidden hand
   of foreign malign threat actors is being exposed. These procedures govern instances in
   which an FBI employee seeks to share information regarding specific activities or accounts
   relating to FMI, such as particular posts or uploads of videos, with Social Media Platforms.
   An overview of the SOP is set forth below.

   Pursuant to the SOP, FBI employees may share information with a Social Media Platform
   regarding specific activities or accounts relating to FMI in the following circumstances:


       "It is the sense of Congress that information from law enforcement
       and the intelligence community is also important in assisting efforts
       by these social media companies to identify foreign information
       warfare operations."

       50 U.S. Code § 3369




         1. The employee determines that the activities are being conducted covertly by, on
         behalf of, or pursuant to instruction from a foreign government and/or actor and in
         support of an FMI operation;

         2. The employee identifies specific, credible, and articulable facts that provide high
         confidence for assessing that the activity is attributed to a foreign government, foreign
         nonstate actor, or their proxy engaged in FMI; and


https://www.fbi.gov/...e/counterintelligence/foreign-influence/providing-foreign-malign-influence-threat-information-to-social-media-platforms[8/8/2024 2:27:46 PM]
         Case 3:22-cv-01213-TAD-KDM                            Document 394-1                  Filed 10/08/24              Page 5 of 8 PageID
                                                                    #: 29587
Providing Foreign Malign Influence Threat Information to Social Media Platforms — FBI


          3. All communications to and with the Social Media Platform are made in a way that
          makes clear that: (a) the FBI is not asking the Platform to take any action in response to
          the sharing of the information, and the Platform has no obligation to do so, (b) the FBI is
          not asking the Platform to change or amend its terms of service, (c) the FBI does not
          investigate solely based on First Amendment-protected activity, and (d) no adverse
          action will be taken by the FBI based on the Platform’s decision about whether or how
          to respond to the information being shared.

   These interactions are voluntary, and the FBI shall always respect a Social Media
   Platform’s decision whether or not to participate.


   1 See U.S. Department of Justice, Report of the Attorney General’s Cyber Digital Task

   Force (2018), available at justice.gov/archives/ag/page/file/1076696/download, at 12
   (“[T]he FBI and [Intelligence Community] partners may be able to identify and track foreign
   agents as they establish their infrastructure and mature their online presence, in which
   case authorities can work with social media companies to illuminate and ultimately disrupt
   those agents’ activities through voluntary removal of accounts that violate a company’s
   terms of service.”).

   2 Justice Manual § 9-90.730 – Disclosure of Foreign Influence Operations.


   3
       Id.




       0RVW:DQWHG

       7HQ0RVW:DQWHG

       Fugitives
       Terrorism
       Kidnappings / Missing Persons
       Seeking Information
       Bank Robbers

       ECAP


https://www.fbi.gov/...e/counterintelligence/foreign-influence/providing-foreign-malign-influence-threat-information-to-social-media-platforms[8/8/2024 2:27:46 PM]
        Case 3:22-cv-01213-TAD-KDM                             Document 394-1                  Filed 10/08/24              Page 6 of 8 PageID
                                                                    #: 29588
Providing Foreign Malign Influence Threat Information to Social Media Platforms — FBI


     ViCAP



     FBI Jobs

     Submit a Tip
     Crime Statistics
     History

     FOIPA
     Scams & Safety
     FBI Kids



     News

     Stories
     Videos

     Press Releases
     Speeches

     Testimony
     Podcasts and Radio

     Photos
     Español
     Apps



     +RZ:H&DQ+HOS<RX

     Law Enforcement
     Victims
     Parents and Caregivers

     Students
     Businesses
     Safety Resources
     Need an FBI Service or More Information?



     :KDW:H,QYHVWLJDWH

     Terrorism



https://www.fbi.gov/...e/counterintelligence/foreign-influence/providing-foreign-malign-influence-threat-information-to-social-media-platforms[8/8/2024 2:27:46 PM]
        Case 3:22-cv-01213-TAD-KDM                             Document 394-1                  Filed 10/08/24              Page 7 of 8 PageID
                                                                    #: 29589
Providing Foreign Malign Influence Threat Information to Social Media Platforms — FBI

     Counterintelligence
     Cyber Crime
     Public Corruption

     Civil Rights
     Organized Crime
     :KLWH&ROODU&ULPH
     Violent Crime
     :0'



     About

     Mission & Priorities
     Leadership & Structure

     Partnerships
     Community Outreach

     FAQs



     Contact Us

     Field Offices
     FBI Headquarters

     Visit the FBI Experience
     Overseas Offices



     Additional Resources

     Accessibility

     eRulemaking
     Freedom of Information / Privacy Act
     Legal Notices

     Legal Policies & Disclaimers
     Privacy Policy

     USA.gov
     :KLWH+RXVH
     No FEAR Act

     Equal Opportunity



https://www.fbi.gov/...e/counterintelligence/foreign-influence/providing-foreign-malign-influence-threat-information-to-social-media-platforms[8/8/2024 2:27:46 PM]
        Case 3:22-cv-01213-TAD-KDM                             Document 394-1                  Filed 10/08/24              Page 8 of 8 PageID
                                                                    #: 29590
Providing Foreign Malign Influence Threat Information to Social Media Platforms — FBI




      FBI
        FEDERAL BUREAU
        OF INVESTIGATION
                                                                FBI.gov Contact Center




https://www.fbi.gov/...e/counterintelligence/foreign-influence/providing-foreign-malign-influence-threat-information-to-social-media-platforms[8/8/2024 2:27:46 PM]
